Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 1 of 9 PagelD #: 6

(Del. Rev. 5/14) Pro Se Prisoner Civil Rights Complaint

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

Alex Ryle

(In the space above enter the full name(s) of the plaintiff(s).)

Civ. Action No.
-against- (To be assigned by Clerk’s
Office)

Irene Fuh, RN,
COMPLAINT

et al, :
(Pro Se Prisoner)

individually and in their official capacities,
Jury Demand?

b<TYes
[ |No

see attached

(In the space above enter the full name(s) of the defendant(s).
If you cannot fit the names of all of the defendants in the space
provided, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of names.
The names listed in the above caption must be identical to

those contained in Section IV. Do not include addresses here.)

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and
the last four digits of a financial account number.

Do not send exhibits, affidavits, grievance or witness statements, or
any other materials to the Clerk’s Office with this complaint.

Page 1 of 10
Case 1:18-cv-00733-MN Document3 _ Filed 05/16/18 Page 2 of 9 PagelD #: 7

(Del. Rev. 5/14) Pro Se Prisoner Civil Rights Complaint

I. COMPLAINT

Indicate below the federal legal basis for your claim, if known. This form is designed primarily
for pro se prisoners challenging the constitutionality of their conditions of confinement, claims
which are often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants)
or ina “Bivens” action (against federal defendants).

Check one:
o [X42 U S.C. § 1983 (state, county, or municipal defendants)

Oo [_] Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federal defendants)

i. PLAINTIFF INFORMATION

Ryle, Alex, O.

Name (Last, First, MJ) Aliases
00463547

Prisoner ID #

James T. Vaughn Correctional Center
Place of Detention
1181 Paddock Road
Institutional Address

New Castle, Smyrna Delaware 19977
County, City State Zip Code

WI. PRISONER STATUS

Indicate whether you are a prisoner or other confined person as follows:

oO [_] Pretrial detainee

[_] Civilly committed detainee

[ | Immigration detainee

[x] Convicted and sentenced state prisoner
L_] Convicted and sentenced federal prisoner

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Page 2 of 10
Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 3 of 9 PagelD #: 8

IV. DEFENDANT(S) INFORMATION

Each defendant is being sued in their individual and official capacity.

Defendant 1: Fuh, lrene

Registered Nurse

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 2: Doe, Jane

Healthcare Provider

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 3: Wheeler, Katie A.

Registered Nurse

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 4: 1st On-call Provider

Healthcare Provider

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 5: Connections Community Support Inc.

Healthcare Provider

11814 Paddock Roa

New Castle County, Smyrna, DE 19977
Defendant 6: Doe 2, Jane

Healthcare Provider

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 7: 2nd On-call Provider

Healthcare Provider

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Defendant 8: Jackson, Tamar

Medical Doctor

1181 Paddock Road

New Castle County, Smyrna, DE 19977
Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 4 of 9 PagelD #: 9

V. STATEMENT OF CLAIM
Place(s) of occurrence: JTVCC- B. Annex & Infirmary
Date(s) of occurrence: December 6, 2016-March 10, 2017

My 8th Amendment right of the United States Constitution and Delaware statutory laws

were violated in result of the following facts:

1. On or about December 6, 2016, I, Alex Ryle, sustained a hand injury while at JTVCC-
location B. Annex. | notified my unit officer, Sgt. Mintz, who allowed me to seek medical
attention at the infirmary for my emergency. There, I was treated by defendant Connections’
two (2) employees: defendant Irene Fuh, RN, and defendant Jane Doe. Defendant Fuh led the
exam and was adamant that my hand was not broken, notwithstanding my assertion that my
hand was hurting intensely and the prominent protrusion which was 7 cm long, 3 cm wide, and
3 cm in height. | was given 200 mg Ibuprofen pills and a hand splint. Defendant Fuh instructed
that | needed to submit a sick-call slip so | could receive treatment, which I did. Moreover, the

pills failed to grant relief and the splint aggravated my pain immensely.

2. On or about December 10, 2016, | visited the infirmary in result of my sick-call slip. |

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was treated by defendant Fuh once more and in ine company 0% defendant Katie A. WI
RN. Again, defendant Fuh diagnosis was that my hand was not broken and that the muscles
and tending’s were simply swollen. Defendant Fuh made a phone call to defendant 1st On-call

Provider and thereafter | was told that | would get an x-ray on Monday-12/12/16.

3. On or about December 12, 2016, due to my constant anguish and not being called to
medical for the x-ray, | went to my unit's officer, c/o Corbett. After phoning medical she
explained that | would get the x-ray on Friday-12/16/16. Moreover, in result of medical’s

failure to provide me with the necessary treatment | was compelled to simply deal with my
intense pain from December 6-16, 2016.
4. On December 16, 2016, | was given an x-ray then sent via ambulance to Kent General

Hospital’s Emergency Room. After multiple unsuccessful endeavors to fix my various injuries,

the initial ER Doctor summoned another orthopedic specialist who failed also. These
Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 5 of 9 PagelD #: 10

healthcare providers expressed to me that due to the significant time lapse of my injury

transpiring and my ER visit, their resetting attempts were no longer viable.

5. Observing the abnormal sight of my hand, coupled with my complaint of severe pain,
a lay person would easily had recognized the necessity for a doctor’s attention. Individually and
collectively, the defendants demonstrated a conscious disregard of the harm their actions could
do to my interest and rights. Defendant(s) Fuh, Doe, Wheeler, and 1st On-call Provider,
recklessly failed to provide me with the proper medical care despite their knowledge of me
having a substantial risk of serious harm. Consequently, | endured ten (10) days of unnecessary
pain and suffering, and this gross dereliction of duty prevented, directly and/or contributed to,
several realignment endeavors. Subsequently, | was compelled to get surgery which gives me a

life-long handicap and permanent scar/loss of the full of my hand.

6. Thus, the delay in my treatment evinces that the defendant(s) Fuh, Doe, Wheeler, and
1st On-call Provider (all fiducially responsible for my healthcare) demonstrated a deliberate
indifference to my serious medical need whereto violates my 8th Amendment right to be free
from cruel and unusual punishment, and in addition to medical negligence pursuant to

Delaware State law.

7. Defendant Connections’ policy and/or common practice to enforce inmates to submit
sick-calls prior to receiving medical care resulted and/or contributed in the exacerbation of my
hand injury which demonstrates said policy/common practice being deliberate indifferent to
my serious medical need, which violates my federal 8th Amendment rights and Delaware’s

State medical negligence laws.

8. On or about the 2nd or 3rd week of December, 2016, | filed a medical grievance about

the abovementioned ordeal. Grievance# 353984.

9. On or about the last week of December, 2016, | had a consultation with my surgeon
Dr. Brady. Following the evaluation he stated that | needed surgery, and inquire why had it
taken so long to get an appointment with him. Moreover, he stated that | would have metal

permanently in my hand and my hand tattoo would be scarred.
Case 1:18-cv-00733-MN. Document3 Filed 05/16/18 Page 6 of 9 PagelID #: 11

10. on or about January 5, 2017, Dr. Brady performed the surgery. Post-surgery, one of
Dr. Brady’s staff informed me that in a few hours my anesthesia would wear off and that | had a
prescription for pain medication. Back at JTVCC’s infirmary | began to experience extreme pain
in my hand about 2200hrs. | notified the nurse, defendant Jane Doe 2, about my excruciating
pain. She said she had Ibuprofen or she could call the defendant 2nd On-call Provider. | asked
her to call the provider for something stronger. Returning some time later she stated the

provider would not issue anything else. Consequently, | was compelled to wait over ten (10)

hours to get adequate pain relief.

11. Thus, defendant(s) Doe 2 and 2nd On-call Provider failure to get me the proper pain
relief following my surgery, and Dr. Tamar Jacksons’ failure to create an appropriate post-
surgery pain management plan demonstrates deliberate indifference to my serious medical

needs which violated my 8th Amendment, and medical negligence pursuant to Delaware law.

12. | filed a medical grievance about not receiving adequate pain relief after my surgery.
Grievance# 355243.
13. On January 9, 2017, | was transferred out of the infirmary just five (5) days from

major surgery in spite of defendant Jackson’s adamant declaration that it was policy for me to

remain housed in infirmary for months to convalesce according to medical and security policies.

| filed a grievance about this. Grievance# 355638.

14. On January 13, 2017, | received a notice that my medical grievances #’s 355243 and

355638 were duplicative of # 353984, so they were unprocessed.

15. On February 23, 2017, my medical grievance #353984 was denied because it was
determined that a treatment plan had been created. Subsequently, | filed an appeal on March

1, 2017. On March 10, 2017, | received confirmation that my appeal was filed but | have yet to

receive any reply.
Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 7 of 9 PagelD #: 12

Vi. ADMINISTRATIVE PROCEDURES

is there a grievance procedure available at your institution? Yes.

Have you file a grievance concerning the facts relating to this complaint? Yes.
Is the grievance process completed? Yes.

Vil. RELIEF

| respectfully pray that this court enter judgment granting me:

1)a declaration that the acts and omissions stated herein violated my rights under the
U.S. and Delaware Constitution(s), and laws of the United States and Delaware;

2)a permanent injunction ordering defendant “Connections” to reform its
policy/common practice of denying inmates immediate medical care to serious medical needs

without filing a sick-call;

3)compensatory damages in the amount of $45,000.00 against defendants, jointly and
severally; and liability to any future medical and/or related expenses in result of my hand

injury;
A)punitive damages in the amount of $20,000.00 against each defendant;
5)a jury trial on all issues triable by jury;
6)all plaintiff's cost in this suit; and,

7)any additional relief the court deems just, proper, and equitable.
Case 1:18-cv-00733-MN Document3 _ Filed 05/16/18 Page 8 of 9 PagelD #: 13

(Del. Rev. 5/14) Pro Se Prisoner Civil Rights Complaint

Ii. PRISONER’S LITIGATION HISTORY

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in forma
pauperis in federal court if that prisoner has “on three or more occasions, while incarcerated or
detained in any facility, brought an action or appeal in a court of the United States that was
dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon which relief
may be granted, unless the prisoner is under imminent danger of serious physical injury.” 28

USC. §1915(g).

Have you brought any other lawsuits in state or federal court while a Llves [X|No
prisoner?

If yes, how many:

Number each different lawsuit below and include the following:

e Name of case (including defendants’ names), court, and docket number

e Nature of claim made
e How did it end? (For example, if it was dismissed, appealed, or is still pending, explain
below.)

Page 9 of 10
Case 1:18-cv-00733-MN Document3 Filed 05/16/18 Page 9 of 9 PagelD #: 14

(Del. Rev. 5/14) Pro Se Prisoner Civil Rights Complaint

IV. PLAINTIFFE’S DECLARATION AND WARNING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by anonfrivolous argument for extending or modifying
existing law; and (3) complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

Plaintiff must sign and date the complaint and provide prison identification number and prison

address.
5-15-19 ADins PA
Dated Plaintiff's Signatur€/
Ryle, Alex, O.

Printed Name (Last, First, MI)

00463547
Prison Identification #

James T. Vaughn Correctional Center

1181 Paddock Road Smyma Delaware 19977

Prison Address City State Zip Code

Do not send exhibits, affidavits, grievance or witness statements, or
any other materials to the Clerk’s Office with this complaint.

Page 10 of 10
